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Hon. Allan W. Jennings, Jr.,                            (917) 692-9790 (203) 290-0848            OF COUNSEL
  (NYC Council 2001-2005)*☆!$#                    E-mail: JENNINGSLAWS@GMAIL.COM                 Joseph R. Bongiorno**†!$
  *Admitted in Connecticut                                                                       Christopher Brenes*
  †Admitted in New Jersey                                                                        Daniel Kogan**!$
 **Admitted in New York
                                                                                                 Grant Lally*☆**!$
 ☆Admitted in US District Connecticut
   !Admitted in US Eastern District NY                                                           John J. Napolitano**!$
  $Admitted in US Southern District NY                                                           Dennis J. Ring **!$
   # Officer in US Coast Guard Auxiliary




    November 1, 2021


    Via ECF                                                                     MEMORANDUM ENDORSED
    Hon. Gabriel W. Gorenstein
    United States Magistrate Judge
    United States District Court
    Southern District of New York
    500 Pearl Street
    New York, NY 10007


                 Re:          Khan v. Amazing Store & Smoke Shop, Inc. et al. Index No. 21-cv-6148

    Dear Judge Gorenstein:

    This law office represents the Defendants Amazing Store & Smoke Shop, Inc. and Mohammad
    Salim Sheikh in the above-referenced action and write jointly with counsel for the Plaintiff
    Muhammad Aslam Khan to respectfully request for an adjournment of the settlement conference
    on November 8, 2021 to be moved to November 29, 2021. My client has been ill since October
    18, 2021 till this date.

    Thank you for your kind consideration of this matter.

    Respectfully Submitted,

    Law Office of Allan W. Jennings, Jr.,                                               Pervez & Rehman, P.C.


    ______/s/______________________                                                     _____/s/_______________
    Allan W. Jennings, Jr., Esq.                                                        Aneeba Rehman, Esq.
    Attorney for Defendants                                                             Attorney for Plaintiff
    Amazing Store & Smoke Shop, Inc.
    and Mohmmad Salim Sheikh


                                               PLEASE RESPOND TO THE BAYSIDE, NY OFFICE
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Application granted. Settlement conference
adjourned to November 29, 2021, at 10:00 a.m.
Submissions are due November 19, 2021.

So Ordered.




                   November 2, 2021
